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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                           )
                                                   )
       v.                                          )      Crim. No. 19-374 (RDM)
                                                   )
AHMAD “ANDY” KHAWAJA,                              )
GEORGE NADER,                                      )
ROY BOULOS,                                        )
RUDY DEKERMENJIAN,                                 )
MOHAMMAD “MOE” DIAB,                               )
RANI EL-SAADI,                                     )
STEVAN HILL, and                                   )
THAYNE WHIPPLE,                                    )
                                                   )
                     Defendants.                   )

                               NOTICE OF APPEARANCE

       Undersigned counsel hereby enters an appearance on behalf of the United States in the

above-captioned matter.

                                           Respectfully submitted,

                                           COREY R. AMUNDSON
                                           Chief, Public Integrity Section
                                           Criminal Division
                                           U.S. Department of Justice

                                    By:    /s/ Jolee Porter
                                           Jolee Porter
                                           Trial Attorneys
                                           Public Integrity Section
                                           Criminal Division
                                           U.S. Department of Justice
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

attorneys of record for the defendants.



Dated: November 8, 2021                             /s/ Jolee Porter
                                                    Jolee Porter
                                                    Trial Attorney
                                                    Public Integrity Section
                                                    Criminal Division
                                                    U.S. Department of Justice
